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IN THE UNI'I`ED STATES BANK_RUPTCY COURT
FOR THE DISTRICT OF DELAWARE

____________________________________ X
In re: Chapter 1 l
' Case No. 18-12241 (CSS)
MATI`RESS FIRM, INC., _
et al. , : (Jointly Administered)
Debtors. : Objection Deadline:
November 2, 2018

____________________________________ x

OBJECTION OF DC USA OPERATING CO., LLC TO DEBTORS’
NOTICE OF CURE AMOUNTS RELATING TO
UNEXPIRED LEASES THE DEBTORS MAY SEEK TO ASSUME
DC USA Operating Co., LLC (“Landlord” or “DC USA”), by and through its

undersigned counsel, Law Offices of Lisa M. Solomon, as and for its objection to the cure
amount of the above-captioned debtors, respectfully states as follows:
l. On or about October 5, 2018 (the “Petition Date”), each of the above-referenced debtors
(collectively, the “Debtors,” each a “Debtor”) filed a voluntary petition for relief under chapter
11 of title 11 of the United States Code (the “Code”) With this Court.
2. Upon information and belief, the Debtors are operating their business and
managing their properties as debtors in possession pursuant to §§ 1107(3) and 1108 of the Code.
3. DC USA is a landlord of Sleepy’s, LLC, one of the Debtors herein. The Debtor operates
an approximate 2,800 square foot store (the “Premises”) at the Landlord’s shopping center
commonly known as DC USA (the “Center”) in Washington, D.C located at 3100 14lh Street

NW, Washington, DC, pursuant to an unexpired lease of nonresidential real property dated

December 31, 2005, as amended by that certain Letter of Amendment dated November 26, 2008

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and that certain Second Amendment of Lease dated Decernber 26, 2014 (collectively, the
“Lease”).

4. Landlord is in receipt of the Cure Notice, which indicates that the Lease may be assumed.
5. By order of the Court, the Landlord’s deadline is November 2, 2018 for filing an
objection to the Debtor’s proposed cure amount if the Lease is among those to be assumed. The
Landlord, however, is unaware of any filed notice disclosing the assumption status of the Lease.
Out of an excess of caution, the Landlord is filing this objection to preserve its rights in the event
the Landlord’s store is now, or is subsequently made, subject to assumption and cure.

6. The Premises are located within a “shopping center” as that term is used in

§365(b)(3) of the Code. See In re Joshua Slocum, Ltd. 922 F.2d 1081, 1086-87 (3d Cir. 1990).
7. Under § 365(b) (1) of the Code, as a condition to lease assumption, the Debtor must cure
all outstanding defaults and compensate the Landlord for any actual pecuniary loss, including the
payment of related attomeys’ fees. ll U.S.C. §365(b)(1)(B).

8. The Landlord disputes the Debtor’s proposed $l6,959.87 cure amount October’s rental is
$16,169.30 plus water and sewer charges of $136.63. In addition, pre-petition compactor and
water and sewer charge remain unpaid of $1,226.68, for an aggregate cure amount of
$17,532.61, as set forth on Exhibit “A” annexed hereto. DC USA reserves the right to
supplement attomeys’ fees due at the time the cure amount and/or assignment of the Lease is
resolved. Any order that is entered establishing a cure amount with respect to the Lease must
require the cure as aforesaid in this paragraph be paid in full upon any assumption of the Lease,
unless otherwise agreed to in writing by DC USA.

10. Any order that is entered establishing a cure amount With respect to the Lease must
require compliance with all obligations under the Lease in accordance with §365(d)(3) of the

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Code, including without limitation, that the assignee is subject to all of the terms and conditions
Of the Lease, including those relating to use, exclusivity, rental obligations, tenant mix and
balance and indemnification

ll. Any order that is entered establishing a cure amount with respect to the Lease must
require the cure of any additional defaults that may occur or may have occtu'red through the

effective date of any assumption by the Debtor under §365(b)(1) of the Code.

12. Landlord specifically reserves its rights to object to any other relief sought by the Debtor
in connection with the assumption of the Lease, including, without limitation, any proposed

adequate assurance of future performance
WHEREFORE, DC USA requests that the correct amount of the cure for the Lease be
established as $17,532.61, except as otherwise agreed to by DC USA in writing alter the date

hereof, and the Court grant such other relief consistent with the relief requested herein.

Dated: New York, New York
November l, 2018

LAW OFFICES OF LISA M. SOLOMON
Counsel for DC USA Operating Co., LLC

By: /s/ Lisa M. Solomon

Lisa M. Solomon (LS-0086)
305 Madison Avenue, Suite 4700
New York, New York 10165
(212) 471-0067

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EXH|B|T A

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a:an m DC USA Operating Co., LLC
mama Oper\ invoices
As of October 31 , 2018
Typc onto Num Spllt Ag|ng Opsn Balanoa
Mattmu Dlneountnl'n Corpomtlon
Invntea 09!07!2017 302 Compador Charges 419 152.05
lmrda 00107!2017 303 Walor & Sewer 410 284.05
Inwlm 08!09!2016 336 Cnmpador Chnrgos 33 170.22
lnvolu 08103&018 338 Compadcr Chame: 50 170 .76
lmrolce 00!03E018 339 43PLIT- PM¢.¢¢.¢. ¢./» lex cafe 58 449.59
lnvolea 10101&015 340 -SPLIT- 30 16.109.30
|nvolee 10103:‘2010 341 Water & Sewer 28 138.63
Total Mattmss Dlseountars Corporatlon 17_,532._6_1
TD'|'AL 17.532.81

 

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DC USA Operating Co., LLC lnvoice
cfc Grid Properties lnc.
2309 Frederick Douglass Boulevard Date lnvoice #
'NPW anl: 'NV lnl'l?‘l
Bill To: Location:
Mat'tress Firrn, Inc. - M`RFM #179089
10201 S. Main Street
Houston, TX 77025
Attn: Lease Administration Dept.
Deserigtion Amount Due
October 2018 Rent 12,626.70
October 2018 Common Area Ma.intenance (CAM) 1,083.08
October 2018 Condenser Water Charges 377.00
October 2018 Estimated 'I`enant's Tax Percentage of Real Estate Taxes 2,082.52

 

Please make checks payable to DC USA Operating Co., LLC.

 

Total Due $16,169.30

 

 

 

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Lisa M. Solomon hereby certifies that on the lst day of November, 2018, a copy of the foregoing
Objecti'on was sent in the manner indicated below upon the following:

Mattress Firm, Inc.
Attn: Kindel Elam
10201 S. Main Street
Houston, Texas 77025
Debtor’s

(Via Overnight Mail)

Sidley Austin LLP

Attn: Bojan Guzina and Matthew E. Linder
One Soutl‘i Dearborn

Chicago, lllinois 60603

Counselfor Debtor’s

(Via Facsimile

312-853-70360)

Young Conaway Stargatt & Taylor LLP

Attn: Edmon L. Morton and Ashley E. .lacobs
lOOONorth King Street

Wilmington, Delaware 19801

Co-Coimselfor Debtor’s

(Via Facsimile

302-576-3283)

U.S. Trustee

Attn: Linda Richenderfer
844 King Street, Suite 2207
Lockbox 35

Wilmington, Delaware 19801
(Via Facsimile
302-573-6491)

Paul Hastings LLP

Attn: Andrew V. Tenzer and

Michael E. Comerford

MetLife Building

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New York, NY 10166

Counsel to the DIP Agenrs and Prepeti'!ian ABL
Agenr

(Via Facsimile

212-230-7699)

Richards, Layton 81 Finger, P.A.

One Rodney Square

920 North King Street

Wilmington, Delaware 19801

Attn: Mark D. Collins and Jason M. Madron

Co unsel to the DIP Agents and Prepeti`ti'on ABL
Agenr

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Attn: Christopher l-lunker

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Counsel to the Prepetition Term Loan Lender
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Latham & Watkins, LLP

Attn: Adam Goldberg

885 Third Avenue

New York, NV 10022

Co-Counsel 10 the E)ci`! Term Loan Financing
Backstop Group

(Via Facsimile - 212-751-4864)

Ashbe & Geddes

Attn: William Bowden

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Wilimington, Delaware 19801

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